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 7
                            UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA
 9
10 JASON SINGLETON, individually on             Case No.:
     behalf of all others similarly situated,
11                                              CLASS ACTION COMPLAINT FOR
                              Plaintiff,        VIOLATIONS OF:
12
           vs.                                  1)   THE CONFIDENTIALITY OF
13                                              MEDICAL INFORMATION ACT, CAL.
                                                CIV. CODE §§ 56, ET SEQ. (“CMIA”);
14 CITY OF HOPE,                                2)   THE CALIFORNIA UNFAIR
                                                COMPETITION LAW, CAL. BUS. &
15                            Defendant.        PROF, CODE §§ 17200, ET SEQ.
                                                (“UCL”);
16                                              3)   NEGLIGENCE; AND
                                                4)   BREACH OF IMPLIED
17                                              CONTRACT
18                                              JURY TRIAL DEMANDED
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 1        Plaintiff JASON SINGLETON (hereinafter referred to as “Plaintiff”),
 2 individually and on behalf of others similarly situated (the “Class Members”), by and
 3 through his attorneys, allege upon information and belief as follows:
 4                                NATURE OF THE CASE
 5        1.      Under the Confidentiality of Medical Information Act, California Civil
 6 Code §§ 56, et seq. (hereinafter referred to as the “Act”), Plaintiff, and all other
 7 persons similarly situated, as patients of Defendant CITY OF HOPE (hereinafter
 8 referred to as “Defendant”) have the right to expect that the confidentiality of their
 9 medical information, including confidential protected health information (“PHI”) and
10 personally identifiable information (“PII”), in possession of and/or derived from

11 Defendant to be reasonably preserved.
12        2.      Notwithstanding this right, Defendant failed to protect and preserve
13 confidentiality of their individual identifiable medical information was contained in
14 or was made accessible by Defendant’s computer systems and accessed, viewed,
15 and/or acquired by an unauthorized individual in violation of Act.
16        3.      The short title of the Act states, “The Legislature hereby finds and
17 declares that persons receiving health care services have a right to expect that the
18 confidentiality of individual identifiable medical information derived by health
19 service providers be reasonably preserved. It is the intention of the Legislature in
20 enacting this act, to provide for the confidentiality of individually identifiable medical
21 information,    while permitting certain reasonable and limited uses of that
22 information.”
23        4.      The Act specifically provides that “No provider of health care, health
24 care service plan, or contractor shall disclose medical information regarding a patient
25 of the provider of health care or an enrollee or subscriber of a health care service plan
26 without first obtaining an authorization....” Cal. Civ. Code. § 56.10(a).
27        5.      The Act further provides that “Every provider of health care, health care
28 service plan, pharmaceutical company, or contractor who creates, maintains,

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 1 preserves, stores, abandons, destroys, or disposes of medical records shall do so in a
 2 manner that preserves the confidentiality of the information contained therein. Any
 3 provider of health care, health care service plan, pharmaceutical company, or
 4 contractor who negligently creates, maintains, preserves, stores, abandons, destroys,
 5 or disposes of medical records shall be subject to the remedies ... provided under
 6 subdivisions (b) ... of Section 56.36.” Cal. Civ. Code § 56.101.
 7           6.    Cal. Civ. Code § 56.36(b) provides Plaintiff, and all other persons
 8 similarly situated, with a private right to bring an action against Defendant for
 9 violation of Civil Code § 56.101 by specifically providing that “[i]n addition to any
10 other remedies available at law, any individual may bring an action against any

11 person or entity who has negligently released confidential information or records
12 concerning him or her in violation of this part, for either or both of the following: (1)
13 ... nominal damages of one thousand dollars ($1,000).”
14           7.    In order to recover under the Act, “it shall not be necessary that the
15 plaintiff suffered or was threatened with actual damages. The amount of actual
16 damages, if any, sustained by the patient.” (Emphasis added.)
17           8.    The value of PII/PHI as a commodity is measurable.1 “PII, which
18 companies obtain at little cost, has quantifiable value that is rapidly reaching a level
19 comparable to the value of traditional financial assets.”2 It is so valuable to identity
20 thieves that once PII/PHI has been disclosed, criminals often trade it on the “cyber
21 black-market” for several years.
22           9.    As used herein, “PATIENTS” is defined as any natural person, whether
23 or not still living, who received health care services from Defendant, and to whom
24 medical information pertains, as defined by Cal. Civ. Code § 56.05(k).
25
26   1
     See Robert Lowes, Stolen EHR [Electronic Health Record] Charts Sell for $50 Each on Black
   Market (April 28, 2014), available at http://www.medscape.com/viewarticle/824192.
27 2 See John T. Soma, et al., Corporate Privacy Trend: The “Value” of Personally Identifiable
   Information (“PII”) Equals the “Value” of Financial Assets, 15 RICH. J.L. & TECH. 11, at *3-4
28 (2009) (“PII, which companies obtain at little cost, has quantifiable value that is rapidly reaching a
   level comparable to the value of traditional financial assets.”) (Citations omitted).
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 1        10.    This class action is brought on behalf of Plaintiff and a putative class
 2 defined as all PATIENTS of Defendant who were sent a letter by or on behalf of
 3 Defendant on or about April 2, 2024, notifying them their PII/PHI was contained
 4 within files on Defendant’s computer systems was involved in a data breach on or
 5 around September 19, 2023 (or the “Class”).
 6        11.   As alleged more fully below, Defendant created, maintained, preserved,
 7 and/or stored Plaintiff’s and the Class members’ individual identifiable medical
 8 information on Defendant’s computer systems on or before September 19, 2023.
 9        12.   Due to Defendant’s mishandling of individual identifiable medical
10 information recorded onto the Defendant’s computer systems, there was an

11 unauthorized release of Plaintiff’s and the Class members’ confidential medical
12 information on or around September 19, 2023, in violation of Cal. Civ. Code §
13 56.101.
14        13.   As alleged more fully below, Defendant negligently created, maintained,
15 preserved, and/or stored Plaintiff’s and the Class members’ individual identifiable
16 medical information which allowed unauthorized access to and disclosure of
17 Plaintiff’s and the Class members’ individual identifiable medical information was
18 contained in or was made accessible by Defendant’s computer systems, which
19 constitutes an unauthorized release of their confidential medical information in
20 violation of Cal. Civ. Code § 56.101 of the Act.
21        14.   Plaintiff, individually and on behalf of others similarly situated, seeks
22 nominal damages of one thousand dollars ($1,000) for himself and each of the Class
23 members, for each violation under Cal. Civ. Code § 56.36(b)(1), and actual damages
24 per violation pursuant to Cal. Civ. Code § 56.36(b)(2).
25        15.   Additionally, Plaintiff, seeks injunctive relief and restitution individually
26 and on behalf of others similarly situated for violations of the California Unfair
27 Competition Law, Business and Professions Code §§ 17200, et seq. (“UCL”).
28        16.   Plaintiff does not seek any relief greater than or different from the relief
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 1 sought for the Class of which Plaintiff is a member. The action, if successful, will
 2 enforce an important right affecting the general public’s interest and would confer a
 3 significant benefit, whether pecuniary or non-pecuniary, for a large class of persons.
 4 Private enforcement is necessary and places a disproportionate financial burden on
 5 Plaintiff in relation to Plaintiff’s stake in the matter.
 6                                 JURISDICTION AND VENUE
 7            17.    This Court has subject matter jurisdiction over this action under 28
 8 U.S.C. § 1332(d)(2) because the amount in controversy exceeds $5 million, exclusive
 9 of interests and costs, and there are more than 100 members in the proposed Class,
10 and at least one member of the Class is a citizen of a state different from Defendant.

11            18.    This Court also has jurisdiction over supplemental claims under 28
12 U.S.C. § 1367(a) because these claims are so related that they form part of the same
13 case or controversy.
14            19.    Venue is proper in this District under 28 U.S.C. § 1391 because Plaintiff
15 resides in this District and a substantial part of the events or omissions giving rise to
16 these claims occurred in this District.
17                                              PARTIES
18            20.    At all times relevant, Plaintiff was a citizen and resident of Los Angeles
19 County, in the State of California.
20            21.    At all times relevant, Plaintiff was a PATIENT of Defendant as defined
21 by Cal. Civ. Code § 56.05(k).
22            22.    Defendant is a California nonprofit corporation with its principal place
23 of business located at 1500 East Duarte Road, Duarte, California 91010.
24            23.    At all times relevant, Defendant is a “provider of health care” as defined
25 by Cal. Civ. Code § 56.06(a) which serving approximately 134,000 patients each year
26 across a network of locations in California, Arizona, Illinois and Georgia.3
27
28
     3
         https://www.cityofhope.org/about-city-of-hope/expanding-hope
                                                      -5-
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 1                                   FACTUAL ALLEGATIONS
 2                                  Defendant’s Business Practices
 3           24.      Defendant is a health care provider and a National Cancer Institute-
 4 designated comprehensive cancer center4 serving approximately 134,000 patients
 5 each year across a network of locations in California, Arizona, Illinois and Georgia.5
 6           25.      As a part of Defendant’s business practices, Defendant requires its
 7 patients to provide sensitive personal information as a condition of providing its
 8 services, including but not limited to an individual’s name, date of birth, social
 9 security number, and medical information.
10           26.      Defendant stores and maintains the information that it collects from its
11 patients, including the personal information of Plaintiff and the Class.
12           27.      Defendant’s website states that Defendant respects the personal privacy
13 of its patients and “is committed to protecting it.”6
14           28.      In the Notice of Privacy Practices located on Defendant’s website (the
15 “Notice”), Defendant notes its legal obligation to maintain the privacy of its patient’s
16 protected health information (PHI).7
17           29.      The Notice also states, “whenever we use or disclose your PHI, we are
18 required to abide by the terms of this Notice.”8
19           30.      The Notice further outlines the ways in which Defendant may use and
20 disclose a patient’s PHI, including:
21                 a. When required by law;
22                 b. To provide treatment;
23                 c. Appointment reminder, test results, treatment alternatives, etc.;
24                 d. Health-related benefits and services;
25
26   4
     https://www.cityofhope.org/careers/why-work-at-city-of-hope/the-story-of-city-of-hope
     5
     https://www.cityofhope.org/about-city-of-hope/expanding-hope
27 6 https://www.cityofhope.org/about-city-of-hope/legal-and-privacy-policies/website-policies
   7
     https://www.cityofhope.org/sites/www/files/2024-03/COH-Notice-of-Privacy-Practices-09-
28 2023_English.pdf
   8
     Id.
                                                  -6-
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 1                   e. Health information exchanges;
 2                   f. For payment purposes;
 3                   g. To carry-out health care operations;
 4                   h. To perform fundraising activities;
 5                   i. For the patient directory
 6                   j. To inform individuals involved in your care or in payment for your care;
 7                   k. Disaster relief;
 8                   l. For research purposes; and
 9                   m. Business associates.9
10             31.      The Notice also lists the instances in which a patient’s written
11 authorization is required for use and disclosure, including:
12                   a. The use and disclosure of highly confidential information; and
13                   b. The use and disclosure for marketing purposes.
14             32.      The Notice also includes a list of rights retained by Defendant’s patients
15 regarding the use and disclosure of PHI, including:
16                   a. The right to request restrictions on disclosure and use;
17                   b. The right to request confidential communication/how Defendant
18                      communicates with a patient;
19                   c. The right to access their own City of Hope record;
20                   d. The right to amend their own City of Hope record; and
21                   e. The right to an accounting of disclosures.
22             33.      Despite these representations and guarantees made by Defendant,
23 Defendant failed to adequately protect the personal information of Plaintiff and the
24 Class.
25             34.      Despite these representations and guarantees made by Defendant,
26 Defendant failed to implement adequate security measures regarding the personal
27
28
     9
         Id.
                                                     -7-
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 1 information of Plaintiff and the Class.
 2        35.     Defendant owed Plaintiff and the Class a duty to provide reasonable and
 3 adequate security measures to secure, protect, and safeguard their sensitive personal
 4 information.
 5        36.     Plaintiff and the Class reasonably relied on Defendant to maintain and
 6 store their sensitive personal information in a responsible manner and to only disclose
 7 their sensitive personal information to authorized persons.
 8        37.     Defendant’s lax security practices that allowed this intrusion to occur
 9 have harmed Plaintiff and the Class members by, among other injuries: (a) adding to
10 their financial obligations by exposing them to financial fraud and placing them at an

11 increased risk of fraudulent charges; (b) complicating diagnosis, prognosis, and
12 treatment for their medical conditions by placing them at an increased risk of having
13 inaccurate medical information in their files; and/or (c) increasing the risk of other
14 potential personal, professional, or financial harms that could result from the
15 unauthorized exposure of their sensitive personal information.
16        38.     At a minimum, Defendant failed to implement: (1) reasonable and
17 adequate security measures designed to prevent this attack even though Defendant
18 knew or should have known that Defendant’s electronic systems were a target for
19 hackers; and (2) reasonable and adequate security protocols to promptly detect the
20 unauthorized intrusion into and removal from its network of sensitive personal
21 information of Defendant’s patients.
22                                     The Data Breach
23        39.     Plaintiff and the Class are patients who paid and provided their sensitive
24 personal information to Defendant for the purpose of received Defendant’s health
25 care services.
26        40.     Prior to September 19, 2023, Defendant created, maintained, preserved,
27 and/or stored Plaintiff’s and the Class members’ individually identifiable medical
28 information, PII/PHI, on Defendant’s computer systems, including but not limited to

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 1 Plaintiff’s and the Class members’ name, contact information (e.g., email address,
 2 phone number), date of birth, social security number, driver’s license or government
 3 identification, financial details (e.g., bank account number and/or credit card details),
 4 health insurance information, and medical information.
 5         41.   Such medical information included or contained an element of personal
 6 identifying information sufficient to allow identification of the individual, such as
 7 Plaintiff’s and the Class members’ names, dates of birth, social security number, and
 8 medical information, or other information that, alone or in combination with other
 9 publicly available information, reveals Plaintiff’s and the Class members’ identity.
10         42.   On or around September 19, 2023, an unauthorized third party accessed
11 a subset of Defendant’s systems and retained access to Defendant’s systems until on
12 or around October 12, 2023 (the “Data Breach”).10 For twenty-three (23) days, the
13 unauthorized third party accessed, viewed, exfiltrated and/or obtained copies of
14 certain files from Defendant’s network containing Plaintiff’s and the Class members’
15 personal information, including PII/ PHI, through the Data Breach.
16         43.   On or around December 12, 2023, Defendant notified the U.S.
17 Department of Health and Human Services Office for Civil Rights (“DHHS”) on the
18 Data Breach, indicating that 501 individuals had been affected.11
19         44.   However, on April 2, 2024, Defendant, through its attorney, notified the
20 Office of the Maine Attorney General of the Data Breach, indicating that the total
21 number of individuals affected was 827,149.12 Defendant’s notice to the Office of the
22 Maine Attorney General also indicated that the Data Breach occurred from July 7,
23 2023 through October 15, 2023.13
24         45.   Also on or around April 2, 2024, Defendant sent a letter via U.S. mail
25
26
     10
      https://www.cityofhope.org/notice-of-data-security-incident
27   11
      https://ocrportal.hhs.gov/ocr/breach/breach_report.jsf
   12
      https://apps.web.maine.gov/online/aeviewer/ME/40/1bb296e2-ea79-438c-b357-
28 28ef738a0bf6.shtml
   13
      Id.
                                                    -9-
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 1 notifying Plaintiff and the Class members of the Data Breach and informing Plaintiff
 2 that his information was accessed, viewed, exfiltrated and/or obtained by an
 3 unauthorized third party.
 4        46.    The letter stated that on or about October 13, 2023, Defendant “became
 5 aware of suspicious activity on a subset of its systems and immediately instituted
 6 mitigation measures.”
 7        47.    The letter further stated that based on a “detailed review of the copied
 8 files,” Defendant “determined that some of these files may have contained
 9 [Plaintiff’s] information.”
10        48.    Other than offering Plaintiff Kroll identity monitoring at no cost to
11 Plaintiff for two years, Defendant offered no substantive steps to help victims like
12 Plaintiff and Class Members to protect themselves. On information and belief,
13 Defendant sent a similar generic letter to all other individuals affected by the Data
14 Breach.
15        49.    Additionally, although the letter states that Defendant discovered the
16 breach on October 13, 2023, Defendant failed to notify Plaintiff and the Class until
17 April 2, 2024, a full one-hundred and seventy-two (172) days after the Breach.
18        50.    This significant delay in notification exacerbated the risk of fraud and
19 the injuries incurred by Plaintiff and the Class. Additionally, due the Defendant’s
20 delay in notification, Plaintiff and the Class were deprived of the opportunity to
21 mitigate their injuries and risk of fraud.
22        51.    Defendant’s one-hundred and seventy-two (172) day delay in
23 notification demonstrates Defendant’s lack of care regarding their security practices
24 and procedures.
25        52.    Moreover, the discrepancies between the information that Defendant
26 provided to the DHHS, the Office of the Maine Attorney General, and to Plaintiff and
27 the Class make it difficult to determine the full scope of the Data Breach.
28

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 1        53.    Upon information and belief, Plaintiff’s personal information and his
 2 PII/PHI, such as his name, contact information, (e.g., email address, phone number),
 3 date of birth, social security number, driver’s license number or other government
 4 identification, financial details (e.g., bank account number and/or credit card details),
 5 health insurance information, medical records and information about medical history
 6 and/or associated conditions, and/or unique identifiers to associate individuals with
 7 City of Hope (e.g., medical record number), and medical information, were accessed,
 8 viewed, exfiltrated and/or obtained by unauthorized parties through and as a result of
 9 the Data Breach.
10        54.    After receiving the “Notice of Data Breach” letter, Plaintiff spent
11 considerable time and effort taking actions to attempt to mitigate the impact of the
12 Data Breach, including monitoring accounts, regularly reviewing account statements,
13 and using credit monitoring services. This is time Plaintiff otherwise would have
14 spent performing other activities or leisurely events for the enjoyment of life, and this
15 loss of time was a direct result of the Data Breach.
16        55.    As a result of the Data Breach, Plaintiff has suffered invasion of privacy
17 and emotional distress as a result of the unauthorized release of his PII/PHI, which
18 Defendant had a duty to protect from unauthorized disclosure, including anxiety,
19 concern, and uneasiness about unauthorized parties viewing and potentially using his
20 personal information, as well as unease about Defendant having additional data
21 breaches or otherwise disclosing his personal information in the future. In addition to
22 Plaintiff suffering actual injury from lost time, invasion of privacy, Plaintiff also
23 suffers the imminent and continuing injury arising from the heightened risk of fraud
24 and identity theft due to the Data Breach.
25        56.    As a result of Defendant’s action and/or inactions, and the Data Breach,
26 Plaintiff has suffered damages, including (i) an imminent, immediate and the
27 continuing heightened increased risk of identity theft and identity fraud – risks
28 justifying expenditures for protective and remedial services for which they are

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 1 entitled to compensation, (ii) invasion of privacy, (iii) breach of the confidentiality of
 2 their PII, (iv) statutory damages under the CMIA, (v) deprivation of the value of their
 3 PII for which there is a well-established national and international market, and/or
 4 (vi) the financial and temporal cost of monitoring their credit, monitoring financial
 5 accounts, and mitigating damages.
 6        57.    Also, specifically, on or around March 18, 2024, Plaintiff noticed
 7 unauthorized and fraudulent charges on his bank account by a company called Stash
 8 Capital and was required to spend time and effort to mitigate harm to him and forced
 9 to change his bank account number to prevent further fraudulent transactions.
10        58.    Upon information and belief, the above-mentioned incident was a result
11 of the Data Breach and Defendant’s failure to secure Plaintiff’s sensitive personal
12 information, which was accessed, viewed, exfiltrated and/or obtained by unauthorized
13 parties in the Data Breach.
14        59.    Given the sensitive nature of the information provided by its patients to
15 Defendant, Defendant’s patients – including Plaintiff and the members of the Class –
16 are especially concerned with the breach of confidentiality of their PII and PHI.
17        60.    The private health and personal information taken from Defendant’s
18 system is particularly sensitive because medical information is valuable to
19 cybercriminals and has routinely been sold and traded on the dark web.
20        61.    As a provider of health care, Defendant is required by the Act to ensure
21 that medical information regarding a patient of Defendant is not disclosed or
22 disseminated or released without their patients’ authorization, and to protect and
23 preserve the confidentiality of the medical information regarding PATIENTS such as
24 Plaintiff and the Class members, under Cal. Civ. Code §§ 56.10, 56.101 and 56.36.
25        62.    As a provider of health care, Defendant is required by the Act not to
26 disclose medical information regarding a patient of Defendant without first obtaining
27 an authorization under Cal. Civ. Code § 56.10(a).
28

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 1        63.          As a provider of health care, Defendant is required by the Act to create,
 2 maintain, preserve, and store medical records in a manner that preserves the
 3 confidentiality of the information contained therein under Cal. Civ. Code § 56.101(a).
 4        64.          As a provider of health care, Defendant is required by the Act to protect
 5 and preserve confidentiality of electronic medical information of Plaintiff and the
 6 Class in its possession under Cal. Civ. Code § 56.101(b)(1)(A).
 7        65.          As a provider of health care, Defendant is required by the Act to take
 8 appropriate preventive actions to protect the confidential information or records
 9 against release consistent with Defendant’s obligations under the Act, under Cal. Civ.
10 Code § 56.36(e)(2)(E), or other applicable state law, and the Health Insurance

11 Portability and Accountability Act of 1996 (Public Law 104-191) (HIPAA) and all
12 HIPAA Administrative Simplification Regulations in effect on January 1, 2012,
13 contained in Parts 160, 162, and 164 of Title 45 of the Code of Federal Regulations,
14 and Part 2 of Title 42 of the Code of Federal Regulations, including, but not limited
15 to, all of the following:
16                i.      Developing and implementing security policies and procedures.
17               ii.      Designating a security official who is responsible for developing and
18                        implementing its security policies and procedures, including
19                        educating and training the workforce.
20              iii.      Encrypting the information or records, and protecting against the
21                        release or use of the encryption key and passwords, or transmitting
22                        the information or records in a manner designed to provide equal or
23                        greater protections against improper disclosures.
24        66.          Defendant had the resources necessary to protect and preserve the
25 confidentiality of electronic medical information of Plaintiff and the Class in its
26 possession or accessible on its computer systems, but neglected to adequately
27 implement data security measures according to its representations to Plaintiff and the
28 Class and as required by the Act, despite its obligation to do so.

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 1        67.    Additionally, the risk of vulnerabilities in its computer and data systems
 2 of being exploited by an unauthorized third party trying to steal Plaintiff’s and the
 3 Class’ electronic medical information was foreseeable and/or known to Defendant.
 4        68.    As warned by HIPAA Journal posted on November 1, 2018, “Healthcare
 5 organization[s] need to ensure that their systems are well protected against
 6 cyberattacks, which means investing in technologies to secure the network perimeter,
 7 detect intrusions, and block malware and phishing threats.”
 8        69.    Defendant negligently created, maintained, preserved, and/or stored
 9 Plaintiff’s and the Class members’ individually identifiable medical information and
10 allowed unauthorized access and disclosure or release of such information without

11 Plaintiff’s and the Class members’ prior written authorization, constituting an
12 unauthorized release of their confidential, personal identifiable information and
13 confidential medical information in violation of Cal. Civ. Code § 56.101.
14        70.    California law requires a business to notify any California resident
15 whose unencrypted personal information, as defined, was acquired, or reasonably
16 believed to have been acquired, by an unauthorized person, pursuant to Cal. Civ.
17 Code § 1798.82(a).
18        71.    The HIPAA Breach Notification Rule, 45 CFR §§ 164.400-414, requires
19 HIPAA covered entities to provide notification following a breach of unsecured
20 protected health information.
21        72.    Following a breach of unsecured protected health information, covered
22 entities must provide notification of the breach to affected individuals.
23        73.    Covered entities must only provide the required notifications if the
24 breach involved unsecured protected health information, which is protected health
25 information that has not been rendered unusable, unreadable, or indecipherable to
26 unauthorized persons through the use of a technology or methodology specified by
27 the Secretary of the U.S. Dept. of Health and Human Services in guidance.
28

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 1         74.   Under approved guidance of the U.S. Dept. of Health and Human
 2 Services, protected health information (“PHI”) is rendered unusable, unreadable, or
 3 indecipherable to unauthorized individuals if (1) electronic PHI has been encrypted as
 4 specified in the HIPAA Security Rule by “the use of an algorithmic process to
 5 transform data into a form in which there is a low probability of assigning meaning
 6 without use of a confidential process or key” (45 CFR 164.304 definition of
 7 encryption) and (2) such confidential process or key that might enable decryption has
 8 not been breached.
 9         75.   By notifying Plaintiff and the Class of the Breach, through the
10 notification letter, Defendant has represented that it determined that Plaintiff’s and

11 the Class’s PII/PHI was either not encrypted at all, or if it was encrypted, the
12 encryption was breached by an unauthorized third party.
13         76.   As a result, Defendant was negligent for failing to encrypt or adequately
14 encrypt the PII/PHI of Plaintiff and the Class.
15         77.   Further, because the PII/PHI of Plaintiff and the Class was not rendered
16 unusable, unreadable, or indecipherable, the unauthorized third party who accessed
17 Plaintiff’s and the Class’s PII/PHI was able to access and acquire their sensitive
18 personal information obtained and stored by Defendant.
19         78.   While the HIPAA Breach Notification Rule does not explicitly require a
20 covered entity to update the DHHS or affected individuals as new information
21 regarding the breach is discovered, failing to do so is strong indication of Defendant’s
22 lack of duty of care regarding its obligations under the law and to its PATIENTS,
23 including Plaintiff and the Class members.
24        Defendant Knew or Should Have Known PII/PHI Are High Risk Targets
25         79.   Defendant knew or should have known that PII/PHI like that at issue
26 here, are high risk targets for identity thieves.
27         80.   The Identity Theft Resource Center reported that the business sector had
28 the largest number of breaches in 2018. According to the ITRC this sector suffered

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 1 571 data breaches exposing at least 415,233,143 million records in 2018.14 Further,
 2 the ITRC identified “hacking” as the most common form of data breach in 2018,
 3 accounting for 39% of data breaches.
 4          81.     Prior to the breach there were many reports of high-profile data breaches
 5 that should have put a company like Defendant on high alert and forced it to closely
 6 examine its own security procedures, as well as those of third parties with which it
 7 did business and gave access to its subscriber PII. Notable breaches included Capital
 8 One, which announced that in March 2019 a hacker had gained access to 100 million
 9 U.S. customer accounts and credit card applications. Similarly, in December 2018,
10 Marriott International announced a data breach that affected up to 500 million

11 individuals. The data breach allowed hackers to access customer names, physical
12 addresses, phone numbers, email addresses, passport numbers, dates of birth, gender,
13 loyalty program account information, and payment card information.15
14          82.     As such, Defendant was aware that PII is at high risk of theft, and
15 consequently should have but did not take appropriate and standard measures to
16 protect Plaintiff’s and Class members’ PII against data breaches and unauthorized
17 disclosures that Defendant should have anticipated and guarded against.
18                PI/PHI Is a Valuable Property Right that Must Be Protected
19          83.     The California Constitution guarantees every Californian a right to
20 privacy. And PII is a recognized valuable property right.16 California has repeatedly
21
22
23
   14
      Identity Theft Resource Center, 2018 End-of-Year Data Breach Report, available at
24 https://www.idtheftcenter.org/wp-content/uploads/2019/02/ITRC_2018-End-of-Year-
   Aftermath_FINAL_V2_combinedWEB.pdf.
25 15 See https://www.consumer.ftc.gov/blog/2018/12/marriott-data-
   breach#:~:text=Marriott%20International%20says%20that%20a,up%20to%20500%20million%20p
26 eople.&text=The%20hotel%20chain%20says%20the,10%2C%202018%20could%20be%20affecte
   d
27 16      See John T. Soma, et al., Corporate Privacy Trend: The “Value” of Personally Identifiable
   Information (“PII”) Equals the “Value” of Financial Assets, 15 RICH. J.L. & TECH. 11, at *2
28 (2009) (“PII, which companies obtain at little cost, has quantifiable value that is rapidly reaching a
   level comparable to the value of traditional financial assets.”) (citations omitted).
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 1 recognized this property right, most recently with the passage of the California
 2 Consumer Privacy Act of 2018.
 3         84.    In a FTC roundtable presentation, former Commissioner, Pamela Jones
 4 Harbour, underscored the property value attributed to PII by observing:
 5                Most consumers cannot begin to comprehend the types
                  and amount of information collected by businesses, or
 6                why their information may be commercially valuable.
                  Data is currency. The larger the17 data set, the greater
 7                potential for analysis – and profit.
 8         85.    The value of PII as a commodity is measurable. “PII, which companies
 9 obtain at little cost, has quantifiable value that is rapidly reaching a level comparable
10 to the value of traditional financial assets.”18 It is so valuable to identity thieves that

11 once PII has been disclosed, criminals often trade it on the “cyber black-market” for
12 several years.
13         86.    Companies recognize PII as an extremely valuable commodity akin to a
14 form of personal property. For example, Symantec Corporation’s Norton brand has
15 created a software application that values a person’s identity on the black market.19
16         87.    As a result of its real value and the recent large-scale data breaches,
17 identity thieves and cyber criminals openly post credit card numbers, Social Security
18 numbers, PII and other sensitive information directly on various illicit Internet
19 websites making the information publicly available for other criminals to take and
20 use. This information from various breaches, including the information exposed in
21 the Data Breach, can be aggregated and become more valuable to thieves and more
22 damaging to victims. In one study, researchers found hundreds of websites displaying
23 stolen PII and other sensitive information. Strikingly, none of these websites were
24 blocked by Google’s safeguard filtering mechanism – the “Safe Browsing list.”
25
26   17
           FTC, Statement of FTC Commissioner Pamela Jones Harbour (Remarks Before FTC
   Exploring Privacy Roundtable) (Dec. 7, 2009), https://www.ftc.gov/public-
27 statements/2009/12/remarks-ftc-exploring-privacy-roundtable.
   18
           See Soma, Corporate Privacy Trend, supra.
28 19      Risk Assessment Tool, Norton 2010, www.everyclickmatters.com/victim/assessment-
   tool.html.
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 1          88.    Recognizing the high value that consumers place on their PII, some
 2 companies now offer consumers an opportunity to sell this information to advertisers
 3 and other third parties. The idea is to give consumers more power and control over
 4 the type of information they share – and who ultimately receives that information. By
 5 making the transaction transparent, consumers will make a profit from the surrender
 6 of their PII.20 This business has created a new market for the sale and purchase of this
 7 valuable data.21
 8          89.    Consumers place a high value not only on their PII, but also on the
 9 privacy of that data. Researchers shed light on how much consumers value their data
10 privacy – and the amount is considerable. Indeed, studies confirm that “when privacy

11 information is made more salient and accessible, some consumers are willing to pay a
12 premium to purchase from privacy protective websites.”22
13          90.    One study on website privacy determined that U.S. consumers valued
14 the restriction of improper access to their PII between $11.33 and $16.58 per
15 website.23
16          91.    Given these facts, any company that transacts business with a consumer
17 and then compromises the privacy of consumers’ PII has thus deprived that consumer
18 of the full monetary value of the consumer’s transaction with the company.
19            Theft of PI/PHII Has Grave and Lasting Consequences for Victims
20          92.    A data breach is an incident in which sensitive, protected, or confidential
21 data has potentially been viewed, stolen, or used by an individual unauthorized to do
22
23
   20
           Steve Lohr, You Want My Personal Data? Reward Me for It, N.Y. Times (July 16, 2010)
24 available at https://www.nytimes.com/2010/07/18/business/ 18unboxed.html.
   21
           See Julia Angwin and Emil Steel, Web’s Hot New Commodity: Privacy, Wall Street Journal
25 (Feb. 28, 2011) available at https://www.wsj.com/articles/SB10001424052748703529004576
   160764037920274.
26 22      Janice Y. Tsai, et al., The Effect of Online Privacy Information on Purchasing Behavior, An
   Experimental Study Information Systems Research 22(2) 254, 254 (June 2011), available at
27 https://www.jstor.org/stable/23015560?seq=1# page_scan_tab_contents.
   23
           II–Horn, Hann, et al., The Value of Online Information Privacy: An Empirical Investigation
28 (Mar. 2003) at table 3, available at https://ideas.repec.org/p/wpa/wuwpio/0304001.html (emphasis
   added).
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 1 so. As more consumers rely on the internet and apps on their phone and other devices
 2 to conduct every-day transactions, data breaches are becoming increasingly more
 3 harmful.
 4          93.     Theft or breach of PII is serious. The California Attorney General
 5 recognizes that “[f]oundational” to every Californian’s constitutional right to privacy
 6 is “information security: if companies collect consumers’ personal data, they have a
 7 duty to secure it. An organization cannot protect people’s privacy without being able
 8 to secure their data from unauthorized access.”24
 9          94.     The United States Government Accountability Office noted in a June
10 2007 report on Data Breaches (“GAO Report”) that identity thieves use PII to take

11 over existing financial accounts, open new financial accounts, receive government
12 benefits and incur charges and credit in a person’s name.25 As the GAO Report states,
13 this type of identity theft is so harmful because it may take time for the victim to
14 become aware of the theft and can adversely impact the victim’s credit rating.
15          95.     In addition, the GAO Report states that victims of identity theft will face
16 “substantial costs and inconveniences repairing damage to their credit records … [and
17 their] good name.” According to the FTC, identity theft victims must spend countless
18 hours and large amounts of money repairing the impact to their good name and credit
19 record.26
20          96.     Identity thieves use personal information for a variety of crimes,
21 including credit card fraud, phone or utilities fraud, and bank/finance fraud.27
22
23   24
             California Data Breach Report, Kamala D. Harris, Attorney General, California Department
     of Justice, February 2016.
24   25
             See GAO, GAO Report 9 (2007) available at http:///www.gao.gov/new.items/d07737.pdf.
     26
             See FTC Identity Theft Website: https://www.consumer.ftc.gov/features/feature-0014-
25   identity-theft.
     27
             The FTC defines identity theft as “a fraud committed or attempted using the identifying
26   information of another person without authority.” 16 C.F.R. § 603.2. The FTC describes
     “identifying information” as “any name or number that may be used, alone or in conjunction with
27   any other information, to identify a specific person,” including, among other things, “[n]ame, social
     security number, date of birth, official State or government issued driver's license or identification
28   number, alien registration number, government passport number, employer or taxpayer
     identification number.” Id.
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 1 According to Experian, “[t]he research shows that personal information is valuable to
 2 identity thieves, and if they can get access to it, they will use it” to among other
 3 things: open a new credit card or loan; change a billing address so the victim no
 4 longer receives bills; open new utilities; obtain a mobile phone; open a bank account
 5 and write bad checks; use a debit card number to withdraw funds; obtain a new
 6 driver’s license or ID; use the victim’s information in the event of arrest or court
 7 action.28
 8          97.     According to the IBM and Ponemon Institute’s 2019 “Cost of a Data
 9 Breach” report, the average cost of a data breach per consumer was $150 per record.29
10 Other estimates have placed the costs even higher. The 2013 Norton Report estimated

11 that the average cost per victim of identity theft – a common result of data breaches –
12 was $298 dollars.30 And in 2019, Javelin Strategy & Research compiled consumer
13 complaints from the FTC and indicated that the median out-of-pocket cost to
14 consumers for identity theft was $375.31
15          98.     A person whose PII has been compromised may not see any signs of
16 identity theft for years. According to the GAO Report:
17                  [L]aw enforcement officials told us that in some cases, stolen
                    data may be held for up to a year or more before being used to
18                  commit identity theft. Further, once stolen data have been sold
                    or posted on the Web, fraudulent use of that information may
19                  continue for years. As a result, studies that attempt to measure
                    the harm resulting from data breaches cannot necessarily rule
20                  out all future harm.
21
22
23
24   28
              See Susan Henson, What Can Identity Thieves Do with Your Personal Information and How
     Can You Protect Yourself?, EXPERIAN (Sept. 7, 2017), available at
25   https://www.experian.com/blogs/ask-experian/what-can-identity-thieves-do-with-your-personal-
     information-and-how-can-you-protect-yourself/.
26   29
              Brook, What’s the Cost of a Data Breach in 2019, supra.
     30
              Norton By Symantec, 2013 Norton Report 8 (2013), available at
27   https://yle.fi/tvuutiset/uutiset/upics/liitetiedostot/norton_raportti.pdf.
     31
              Facts + Statistics: Identity Theft and Cybercrime, Insurance Information Institute, available
28   at https://www.iii.org/fact-statistic/facts-statistics-identity-theft-and-cybercrime (citing the Javelin
     report).
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 1          99.    For example, in 2012, hackers gained access to LinkedIn’s users’
 2 passwords. However, it was not until May 2016, four years after the breach, that
 3 hackers released the stolen email and password combinations.32
 4          100. It is within this context that Plaintiff and thousands of other individuals
 5 subjected to the Data Breach must now live with the knowledge that their PII/PHI
 6 was disclosed to and obtained by unauthorized persons, and is likely forever in
 7 cyberspace and likely available for sale on the dark web or black market.
 8                             CLASS ACTION ALLEGATIONS
 9          101. Plaintiff brings this action on Plaintiff’s own behalf individually and on
10 behalf of all other persons similarly situated. The putative class that Plaintiff seeks to

11 represent is composed of:
12                 Nationwide Class
                   All PATIENTS of Defendant for whom Defendant maintained
13                 computer systems containing their PII/PHI, before September 19,
                   2023, and were sent a letter by or on behalf of Defendant on or
14                 about April 2, 2024, notifying them their PII/PHI was contained
                   within files on Defendant’s computer systems was involved in the
15                 Data Breach on or around September 19, 2023.
16                 California Sub-Class
                   All PATIENTS of Defendant in the State of California for whom
17                 Defendant maintained computer systems containing their PII/PHI,
                   before September 19, 2023, and were sent a letter by or on behalf
18                 of Defendant on or about April 2, 2024, notifying them their
                   PII/PHI was contained within files on Defendant’s computer
19                 systems was involved in the Data Breach on or around September
                   19, 2023.
20
            102. The Class is comprised of and includes the Nationwide Class and the
21
     California Sub-Class.
22
            103. Excluded from the Class are the natural persons who are directors,
23
     officers, and employees of Defendant.
24
            104. Plaintiff reserves the right to amend or modify the Class definition with
25
     greater particularity or further division into subclasses or limitation to particular
26
27
28   32
             See Cory Scott, Protecting Our Members, LINKEDIN (May 18, 2016), available at
     https://blog.linkedin.com/2016/05/18/protecting-our-members.
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 1 issues as warranted, and as Plaintiff discovers additional facts during future
 2 investigations.
 3        105. Plaintiff expressly disclaims that Plaintiff is seeking a class-wide
 4 recovery for personal injuries attributable to Defendant’s conduct.
 5        106. The members of the Class are estimated to be in the hundreds of
 6 thousands, and are so numerous that joinder of all members is impracticable.
 7        107. While the exact number of the Class members is unknown to Plaintiff at
 8 this time, such information can be ascertained through appropriate discovery, from
 9 records maintained by Defendant.
10        108. There is a well-defined community of interest among the members of the
11 Class because common questions of law and fact predominate, Plaintiff’s claims are
12 typical of the members of the class, and Plaintiff can fairly and adequately represent
13 the interests of the Class.
14        109. Common questions of law and fact exist as to all members of the Class
15 and predominate over any questions affecting solely individual members of the Class.
16        110. Among the questions of law and fact common to the Class are:
17               a) Whether Plaintiff and the Class members had PII/PHI and
18                   confidential medical information on Defendant’s computer systems
19                   on or before September 19, 2023;
20               b) Whether Defendant was required to obtain the written consent of
21                   Plaintiff and the Class members before it allowed unauthorized
22                   access and disclosure of Plaintiff’s and the Class members’ PII/PHI
23                   and confidential medical information on Defendant’s computer
24                   systems;
25               c) Whether Defendant obtained the written consent of Plaintiff and the
26                   Class members before it allowed unauthorized access and disclosure
27                   of Plaintiff’s and the Class members’ PII/PHI and confidential
28                   medical information on Defendant’s computer systems;
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 1               d) Whether Defendant allowed unauthorized access and disclosure of
 2                  Plaintiff’s and the Class members’ PII/PHI and confidential medical
 3                  information on Defendant’s computer systems was without the prior
 4                  written authorization of Plaintiff and the Class members, as required
 5                  by Cal. Civ. Code § 56.10;
 6               e) Whether Defendant allowed unauthorized access and disclosure of
 7                  Plaintiff’s and the Class members’ PII/PHI and confidential medical
 8                  information on Defendant’s computer systems constitutes a release of
 9                  Plaintiff’s and the Class members’ PII/PHI and confidential medical
10                  information in violation of Cal. Civ. Code § 56.101;
11               f) Whether Defendant’s violations of Cal. Civ Code §§ 56.10 and
12                  56.101 constitutes unlawful violations of California Business and
13                  Professions Code §§ 17200, et seq.; and
14               g) Whether Plaintiff and the Class are entitled to nominal damages,
15                  actual damages, punitive damages, and/or injunctive relief.
16        111. Plaintiff’s claims are typical of those of the other Class members
17 because Plaintiff, like every other Class member, was exposed to virtually identical
18 conduct and is entitled to nominal damages of one thousand dollar ($1,000) per
19 violation pursuant to Cal. Civ. Code §§ 56.101, 56.36(b)(1), and actual damages per
20 violation pursuant to Cal. Civ. Code §§ 56.101, 56.36(b)(2).
21        112. Plaintiff will fairly and adequately protect the interests of the Class.
22        113. Moreover, Plaintiff has no interest that is contrary to or in conflict with
23 those of the Class Plaintiff seeks to represent during the Class Period.
24        114. Plaintiff has retained competent counsel experienced in class action
25 litigation to further ensure such protection and intend to prosecute this action
26 vigorously.
27        115. The prosecution of separate actions by individual members of the Class
28 would create a risk of inconsistent or varying adjudications with respect to individual

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 1 members of the Class, which would establish incompatible standards of conduct for
 2 the Defendant in the State of California and would lead to repetitious trials of the
 3 numerous common questions of fact and law in the State of California.
 4        116. Plaintiff knows of no difficulty that will be encountered in the
 5 management of this litigation that would preclude its maintenance as a class action.
 6 As a result, a class action is superior to other available methods for the fair and
 7 efficient adjudication of this controversy.
 8        117. Proper and sufficient notice of this action may be provided to the Class
 9 members through direct mail and/or publication.
10           a) The nature of this action and the nature of laws available to Plaintiff and
11               the members of Class make the use of the class action format a
12               particularly efficient and appropriate procedure to afford relief to
13               Plaintiff and Class for the claims alleged and the disposition of whose
14               claims in a class action will provide substantial benefits to both the
15               parties and the Court because: If each member of the Class were
16               required to file an individual lawsuit, the Defendant would necessarily
17               gain an unconscionable advantage since they would be able to exploit
18               and overwhelm the limited resources of each individual member of the
19               Class with its vastly superior financial and legal resources;
20           b) The costs of individual suits could unreasonably consume the amounts
21               that would be recovered;
22           c) Proof of a common business practice or factual pattern which Plaintiff
23               experienced is representative of that experienced by the Class and will
24               establish the right of each of the members to recover on the causes of
25               action alleged;
26           d) Individual actions would create a risk of inconsistent results and would
27               be unnecessary and duplicative of this litigation; and
28

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 1            e) The disposition of the claims of the members of Class through this class
 2               action will produce salutary by-products, including a therapeutic effect
 3               upon those who indulge in fraudulent practices, and aid to legitimate
 4               business enterprises by curtailing illegitimate competition.
 5        118. Moreover, the Class members’ individual damages are insufficient to
 6 justify the cost of litigation, so that in the absence of class treatment, Defendant’s
 7 violations of law inflicting substantial damages in the aggregate would go
 8 unremedied without certification of the Class.
 9        119. Absent certification of this action as a class action, Plaintiff and the
10 members of the Class will continue to be damaged by the unauthorized release of

11 their individual identifiable medical information.
12
                                   CAUSES OF ACTION
13
                              FIRST CAUSE OF ACTION
14        Violations of the Confidentiality of Medical Information Act (CMIA)
                            California Civil Code §§ 56, et seq.
15                 (On behalf of Plaintiff and the California Sub-Class)
16        120. Plaintiff and the Class incorporate by reference all of the above
17 paragraphs of this Complaint as though fully stated herein.
18        121. Section 56.10(a) of the Cal. Civ. Code provides that “[a] provider of
19 health care, health care service plan, or contractor shall not disclose medical
20 information regarding a patient of the provider of health care or an enrollee or
21 subscriber of a health care service plan without first obtaining an authorization[.]”
22        122. Defendant is a “contractor” within the meaning of Cal. Civ. Code
23 § 56.05(d) and/or a “provider of healthcare” within the meaning of Cal. Civ. Code
24 § 56.06 and/or a “business organized for the purpose of maintaining medical
25 information” and/or a “business that offers software or hardware to consumers . . .
26 that is designed to maintain medical information” within the meaning of Civil Code
27 § 56.06(a) and (b), and maintained and continues to maintain “medical information,”
28

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 1 within the meaning of Cal. Civ. Code § 56.05(j), for “PATIENTS” of Defendant,
 2 within the meaning of Cal. Civ. Code § 56.05(k).
 3        123. Plaintiff and all members of the Class are “PATIENTS” within the
 4 meaning of Cal. Civ. Code § 56.05(k) and are “endanger[ed]” within the meaning of
 5 Cal. Civ. Code § 56.05(e) because Plaintiff and the Class fear that disclosure of their
 6 medical information could subject them to harassment or abuse.
 7        124. Plaintiff and the respective Class members, as PATIENTS, had their
 8 individually identifiable “medical information,” within the meaning of Cal. Civ. Code
 9 § 56.05(j), created, maintained, preserved, and stored on Defendant’s systems at the
10 time of the Data Breach.

11        125. Defendant, through inadequate security, allowed an unauthorized third-
12 party to access Plaintiff and the Class members’ medical information, without the
13 prior written authorization of Plaintiff and the Class members, as required by Cal.
14 Civ. Code § 56.10 of the CMIA.
15        126. Defendant created, maintained, preserved, and/or stored Plaintiff’s and
16 the Class members’ individual identifiable “medical information,” within the
17 meaning of Cal. Civ. Code § 56.05(j), including, but not limited to Plaintiff’s and
18 Class members’ names date of birth, social security number, and medical information
19 on the Defendant’s computer systems.
20        127. Defendant did not preserve the confidentiality of Plaintiff’s and the
21 Class’s information, and negligently failed to protect and preserve confidentiality of
22 electronic medical information of Plaintiff and the Class in its possession against
23 disclosure and/or release, including but not limited to, by failing to conduct and
24 require adequate employee education and training, failing to adequately review &
25 revise information security, failing to have adequate information security, and failing
26 to have adequate privacy policies and procedures in place, as required under Cal. Civ.
27 Code §§ 56.10(a), 56.101(a), 56.101(b)(1)(A), and 56.36(e)(2)(E).
28

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 1        128. Due to Defendant’s negligent creation, maintenance, preservation,
 2 and/or storage of Plaintiff’s and the Class members’ individually identifiable medical
 3 information contained in or made accessible by a Defendant’s computer systems,
 4 Plaintiff’s and the Class’s PII/PHI and confidential medical information was accessed
 5 and/or viewed by at least one unauthorized third party, without first obtaining an
 6 authorization, constituting a disclosure in violation of Cal. Civ. Code § 56.10(a).
 7        129. Due to Defendant’s negligent creation, maintenance, preservation,
 8 and/or storage of Plaintiff’s and the Class members’ individually identifiable medical
 9 information contained in or made accessible by a Defendant’s computer systems,
10 Plaintiff’s and the Class’s PII/PHI and confidential medical information was accessed

11 and/or viewed by at least one unauthorized third party, constituting a release in
12 violation of Cal. Civ. Code § 56.101(a).
13        130. Due to Defendant’s negligent creation, maintenance, preservation,
14 and/or storage of Plaintiff’s and the Class members’ individually identifiable medical
15 information contained in or made accessible by a Defendant’s computer systems,
16 Plaintiff’s and the Class’s PII/PHI and confidential medical information was accessed
17 and/or viewed by at least one unauthorized third party, constituting a release in
18 violation of Cal. Civ. Code § 56.101(b)(1)(A).
19        131. Plaintiff and the Class members’ medical information that was the
20 subject of the data breach included “electronic medical records” or “electronic health
21 records” as referenced by Cal. Civ. Code § 56.101(c) and defined by 42 U.S.C.
22 § 17921(5).
23        132. In violation of Cal. Civ. Code § 56.101(b)(1)(A), Defendant’s electronic
24 health record system or electronic medical record system failed to protect and
25 preserve the integrity of electronic medical information. Plaintiff and the Class
26 members’ medical information was viewed by unauthorized individuals as a direct
27 and proximate result of Defendant’s violations of Cal. Civ. Code § 56.101(b)(1)(A).
28

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 1        133. Defendant violated Cal. Civ. Code § 56.36 through their failure to
 2 maintain and preserve the confidentiality of the medical information of Plaintiff and
 3 the Class members.
 4        134. As a result of Defendant’s above-described conduct in violation of the
 5 Act, Plaintiff and the Class members have suffered (and will continue to suffer)
 6 economic damages and other injury and actual harm in the form of, inter alia, (i) an
 7 imminent, immediate and the continuing increased risk of identity theft, identity fraud
 8 and medical fraud – risks justifying expenditures for protective and remedial services
 9 for which they are entitled to compensation, (ii) invasion of privacy, (iii) breach of
10 the confidentiality of their PII/PHI, (iv) statutory damages under the California

11 CMIA, (v) deprivation of the value of their PII/PHI, for which there is a well-
12 established national and international market, and/or (vi) the financial and temporal
13 cost of monitoring their credit, monitoring their financial accounts, and mitigating
14 their damages from the unauthorized disclosure and/or release of their individual
15 identifiable “medical information” made unlawful by Cal. Civ. Code §§ 56.10,
16 56.101.
17        135. As a result of Defendant’s above-described conduct in violation of the
18 Act, Plaintiff and the Class seek nominal damages of one thousand dollars ($1,000)
19 for each violation under Cal. Civ. Code §56.36(b)(1), and actual damages suffered, if
20 any, pursuant to Cal. Civ. Code § 56.36(b)(2), injunctive relief, as well as punitive
21 damages of up to $3,000 per Plaintiff and each Class member, and attorneys’ fees,
22 litigation expenses and court costs, pursuant to Cal. Civ. Code § 56.35.
23
                             SECOND CAUSE OF ACTION
24              Violation of California’s Unfair Competition Law (UCL)
                California Business & Professions Code §§ 17200, et seq.
25                (On behalf of Plaintiff and the California Sub-Class)
26        136. Plaintiff and the Class incorporate by reference all of the above
27 paragraphs of this Complaint as though fully stated herein.
28

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 1        137. The acts, misrepresentations, omissions, practices, and non-disclosures
 2 of Defendant as alleged herein constituted unlawful, fraudulent and unfair business
 3 acts and practices within the meaning of California Business & Professions Code §§
 4 17200, et seq.
 5        138. The UCL prohibits any “unlawful,” “fraudulent” or “unfair” business act
 6 or practice and any false or misleading advertising, as those terms are defined by the
 7 UCL and relevant case law. By virtue of the above-described wrongful actions,
 8 inaction, omissions, and want of ordinary care that directly and proximately caused
 9 the Data Breach, Defendant engaged in unlawful, unfair and fraudulent practices
10 within the meaning, and in violation of, the UCL.

11        139. In the course of conducting its business, Defendant committed
12 “unlawful” business practices by, inter alia, knowingly failing to design, adopt,
13 implement, control, direct, oversee, manage, monitor and audit appropriate data
14 security processes, controls, policies, procedures, protocols, and software and
15 hardware systems to safeguard and protect Plaintiff and Class members’ PII/PHI, and
16 by violating the statutory and common law alleged herein, including, inter alia,
17 California’s Confidentiality of Medical Information Act (Cal. Civ. Code §§ 56.10(a),
18 (e); 56.101(a), 56.101(b)(1)(A); 56.36), the Health Insurance Portability and
19 Accountability Act of 1996, (42 U.S.C. § 1302d; 45 C.F.R. §§ 164.306(a), (d), (e);
20 164.308(a); 164.312(a), (d), (e); 164.316(a), (b)), and Article I, Section 1 of the
21 California Constitution (California’s constitutional right to privacy).
22        140. Plaintiff and Class members reserve the right to allege other violations of
23 law by Defendant constituting other unlawful business acts or practices.
24        141. Defendant’s above-described wrongful actions, inaction, omissions, and
25 want of ordinary care are ongoing and continue to this date.
26        142. Defendant also violated the UCL’s unlawful prong by breaching
27 contractual obligations created by its Privacy Policy and by knowingly and willfully
28 or, in the alternative, negligently and materially violating Cal. Bus. & Prof. Code §

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 1 22576, which prohibits a commercial website operator from “knowingly and
 2 willfully” or “negligently and materially” failing to comply with the provisions of
 3 their posted privacy policy.
 4        143. Defendant’s above-described wrongful actions, inaction, omissions,
 5 want of ordinary care, misrepresentations, practices, and non-disclosures also
 6 constitute “unfair” business acts and practices in violation of the UCL in that
 7 Defendant’s wrongful conduct is substantially injurious to consumers, offends
 8 legislatively declared public policy, and is immoral, unethical, oppressive, and
 9 unscrupulous.
10        144. Defendant’s practices are also contrary to legislatively declared public
11 policies that seek to protect PII/PHI and ensure that entities who solicit or are
12 entrusted with personal data utilize appropriate security measures, as reflected by
13 laws such as the CCPA, Article I, Section 1 of the California Constitution, and the
14 FTC Act (15 U.S.C. § 45).
15        145. The gravity of Defendant’s wrongful conduct outweighs any alleged
16 benefits attributable to such conduct. There were reasonably available alternatives to
17 further Defendant’s legitimate business interests other than engaging in the above-
18 described wrongful conduct.
19        146. Plaintiff and Class members suffered injury in fact and lost money or
20 property as a result of Defendant’s violations of its Privacy Policy and statutory and
21 common law in that a portion of the money Plaintiff and Class members paid for
22 Defendant’s services went to fulfill the contractual obligations set forth in its Privacy
23 Policy, including maintaining the security of their PII/PHI, and Defendant’s legal
24 obligations and Defendant failed to fulfill those obligations.
25        147. The UCL also prohibits any “fraudulent business act or practice.”
26 Defendant’s above-described claims, nondisclosures and misleading statements were
27 false, misleading and likely to deceive the consuming public in violation of the UCL.
28        148. As a direct and proximate result of Defendant’s above-described
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 1 wrongful actions, inaction, omissions, and want of ordinary care that caused the
 2 Breach and its violations of the UCL, Plaintiff and Class members have suffered
 3 injury in fact and lost money or property as a result of Defendant’s unfair and
 4 deceptive conduct. Such injury includes paying for a certain level of security for their
 5 PII/PHI but receiving a lower level, paying more for Defendant’s products and
 6 services than they otherwise would have had they known Defendant was not
 7 providing the reasonable security represented in its Privacy Policy and as in
 8 conformance with its legal obligations.
 9        149. Defendant’s security practices have economic value in that reasonable
10 security practices reduce the risk of theft of PII/PHI collected, maintained, and stored

11 by Defendant.
12        150. Plaintiff and Class members have also suffered (and will continue to
13 suffer) economic damages and other injury and actual harm in the form of, inter alia,
14 (i) an imminent, immediate and the continuing increased risk of identity theft and
15 identity fraud – risks justifying expenditures for protective and remedial services for
16 which they are entitled to compensation, (ii) invasion of privacy, (iii) breach of the
17 confidentiality   of their PII/PHI, (iv) statutory damages under the CCPA,
18 (v) deprivation of the value of their PII/PHI for which there is a well-established
19 national and international market, and/or (vi) the financial and temporal cost of
20 monitoring their credit, monitoring financial accounts, and mitigating damages.
21        151. Unless restrained and enjoined, Defendant will continue to engage in the
22 above-described wrongful conduct and more data breaches will occur.
23        152. Plaintiff, therefore, on behalf of themselves, Class members, and the
24 general public, also seek restitution and an injunction, including public injunctive
25 relief prohibiting Defendant from continuing such wrongful conduct, and requiring
26 Defendant to modify its corporate culture and design, adopt, implement, control,
27 direct, oversee, manage, monitor and audit appropriate data security processes,
28 controls, policies, procedures protocols, and software and hardware systems to

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 1 safeguard and protect the PII/PHI entrusted to it, as well as all other relief the Court
 2 deems appropriate, consistent with Cal. Bus. & Prof. Code § 17203.
 3                             THIRD CAUSE OF ACTION
 4                                        Negligence
 5        153. Plaintiff and the Class incorporate by reference all of the above
 6 paragraphs of this Complaint as though fully stated herein.
 7        154. Defendant owed various duties to Plaintiff and the Class, including those
 8 pursuant to the CMIA, as alleged in detail above.
 9        155. Specifically, Defendant owed a duty to Plaintiff and the Class with
10 regard to its manner of collection and maintenance of Plaintiff and the Class

11 members’ personal data, including PHI, PII, and medical information.
12        156. Defendant breached its duty by engaging in the conduct and omissions
13 alleged above and in violation of the CMIA.
14        157. Plaintiff believes and thereon alleges that as a proximate result of
15 Defendant’s negligence, Plaintiff and the Class have suffered actual damages and
16 significant emotional distress as described herein and above.
17        158. Due to the egregious violations alleged herein, Plaintiff asserts that
18 Defendant breached Defendant’s duty in an oppressive, malicious, despicable, gross
19 and wantonly negligent manner. Defendant’s conscious disregard for Plaintiff’s
20 privacy rights entitles Plaintiff and the Class to recover punitive damages.
21                            FOURTH CAUSE OF ACTION
22                              Breach of Implied Contract
23        159. Plaintiff and the Class incorporate by reference all of the above
24 paragraphs of this Complaint as though fully stated herein.
25        160. In obtaining services from Defendant, Plaintiff and the Class provided
26 and entrusted their personal information, including PII and PHI, to Defendant.
27        161. Defendant required Plaintiff and the Class to provide and entrust their PII
28 and PHI as a condition of obtaining services from Defendant.

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 1        162. As a condition of obtaining services from Defendant, Plaintiff and the
 2 Class provided and entrusted their PII and PHI. In so doing, Plaintiff and the Class
 3 entered into implied contract with Defendant by which Defendant agreed to safeguard
 4 and protect such PII and PHI, to keep such PII and PHI secure and confidential, and to
 5 timely and accurately notify Plaintiff and the Class if their PII and PHI had been
 6 compromised or stolen.
 7        163. Plaintiff and the Class fully performed their obligations under the implied
 8 contracts with Defendant.
 9        164. Defendant breached the implied contracts it made with Plaintiff and the
10 Class by failing to implement appropriate technical and organizational security

11 measures designed to protect their PII and PHI against accidental or unlawful
12 unauthorized disclosure or unauthorized access and otherwise failing to safeguard and
13 protect their PII and PHI and by failing to provide timely and accurate notice to them
14 that their PII and PHI was compromised as a result of the Data Breach.
15        165. As a direct and proximate result of Defendant’s above-described breach
16 of implied contract, Plaintiff and the Class have suffered (and will continue to suffer)
17 the threat of the sharing and detrimental use of their confidential information;
18 ongoing, imminent, and impending threat of identity theft crimes, fraud, and abuse,
19 resulting in monetary loss and economic harm; actual identity theft crimes, fraud, and
20 abuse, resulting in monetary loss and economic harm; loss of the confidentiality of the
21 stolen confidential data; the illegal sale of the compromised data on the dark web;
22 expenses and/or time spent on credit monitoring and identity theft insurance; time
23 spent scrutinizing bank statements, credit card statements, and credit reports; expenses
24 and/or time spent initiating fraud alerts, decreased credit scores and ratings; lost work
25 time; and other economic and non-economic harm.
26        166. As a direct and proximate result of Defendant’s above-described breach
27 of implied contract, Plaintiff and the Class are entitled to recover actual,
28 consequential, and nominal damages.

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 1                                PRAYER FOR RELIEF
 2        WHEREFORE, Plaintiff respectfully requests the Court grant Plaintiff and the
 3 Class members the following relief against Defendant:
 4        • That the Court issue an Order certifying this action be certified as a class
 5           action on behalf of the Class, appointing the named Plaintiff as a
 6           representative of the Class, and appointing Plaintiff’s attorneys, as Class
 7           Counsel;
 8        • For equitable relief enjoining Defendant from engaging in the wrongful
 9           conduct complained of herein pertaining to the misuse and/or disclosure of
10           the PII and PHI of Plaintiff and Class Members, and from refusing to issue
11           prompt, complete, any accurate disclosures to Plaintiff and Class Members;
12        • For injunctive relief requested by Plaintiff, including but not limited to,
13           injunctive and other equitable relief as is necessary to protect the interests
14           of Plaintiff and Class Members;
15        • For an award of nominal damages in the amount of one thousand dollar
16           ($1,000) per violation to Plaintiff individually and to each member of the
17           Class pursuant to Civil Code § 56.36(b)(1);
18        • For an award of actual damages according to proof per violation pursuant to
19           Civil Code § 56.36(b)(2);
20        • For an award of damages, including actual, consequential, nominal, and
21           statutory damages, as allowed by law in an amount to be determined;
22        • For an award of attorneys’ fees as authorized by statute including, but not
23           limited to, the provisions of California Code of Civil Procedure § 1021.5,
24           and as authorized under the “common fund” doctrine, and as authorized by
25           the “substantial benefit” doctrine;
26        • For an award of costs of the suit;
27        • For prejudgment and post-judgment interest as allowed at the legal rate; and
28        • Any other further relief as this Court deems necessary, just, and proper.
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 1                             DEMAND FOR JURY TRIAL
 2        Plaintiff, individually and on behalf of the putative Class, demands a jury trial.
 3
 4 Dated: June 17, 2024                       Respectfully submitted,
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 6
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